                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:98-CR-00307-RJC
USA                                              )
                                                 )
   v.                                            )                    ORDER
                                                 )
VONTAVION BRICE                                  )
                                                 )

        THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the Fair Sentencing Act of 2010 (FSA). (Doc. No. 70).

        The Court previously reduced the defendant’s sentence based on retroactive changes to

the United States Sentencing Commission Guidelines relating to crack cocaine. (Doc. No. 56:

Order). The defendant filed in the instant motion on July 2, 2012, after he had begun his term of

supervised release on October 8, 2008, (Doc. No. 61: Petition at 1). Therefore, he is no longer

under a sentence that could be affected by the FSA. Even if he were, he would not be entitled to

relief because his offense and sentencing were before the effective date of the FSA. Dorsey v.

United States, 132 S. Ct. 2321, 2335 (2012) (reduced mandatory minimums apply to those

sentenced after August 3, 2010).

        IT IS, THEREFORE, ORDERED that the defendant’s motion (Doc. No. 70) is

DENIED.

                                               Signed: July 9, 2013




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